       Case 6:21-cv-00043-ADA-JCM Document 6 Filed 01/21/21 Page 1 of 12



                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                              WACO DIVISON

 LATINOS FOR TRUMP, BLACKS              §
 FOR TRUMP, JOSHUA MACIAS,              §
 M.S., B. G., J.B., J.J.,               §
                                        §
       Plaintiffs.                      §
                                        §
                                        §
 v.                                     §       CIVIL ACTION NO. 6:21-CV-43
                                        §
 PETE SESSIONS, MITCH                   §
 McCONNELL, NANCY PELOSI,               §
 MARK ZUCKERBERG, CHUCK                 §
 SCHUMER, ALEXANDRIA                    §
 OCASIO-CORTEZ, BRAD                    §
 RAFFENSPERGER, ALL                     §
 MEMBERS OF THE 117TH U.S.              §
 CONGRESS, et al.,                      §       JURY TRIAL REQUESTED

       Defendants.

       AMENDED MOTION FOR TEMPORARY RESTRAINING ORDER

ORAL HEARING REQUESTED

COME NOW, Latinos for Trump, Blacks for Trump, Joshua Macias, M.S., B. G., J.B.,

J.J., (collectively, “Plaintiffs”), by and through their attorneys, Paul M. Davis, and

Kellye SoRelle, and file this their Amended Motion for Temporary Restraining Order

(“Brief”) to this Honorable Court and, in support thereof, respectfully represent as

follows:




                                            1
          Case 6:21-cv-00043-ADA-JCM Document 6 Filed 01/21/21 Page 2 of 12




    A. REQUEST FOR TEMPORARY RESTRAINING ORDER TO PRESERVE
       THE STATUS QUO ANTE BY PLACING CONGRESS AND THE
       EXECUTIVE BRANCH IN A STATE OF STEWARDSHIP.

         1.        Plaintiffs are clearly not the first group of Black and Latino voters deprived

of their right to legally cast a vote in a federal election, but they are the first such group

to stand in the gap for all People1 of the United States of America. Plaintiffs’ urgent

plea before this Honorable Court, in this current Constitutional Crisis, is to restore the

rule of law to our Republic and its government by consent of the governed by placing

appropriate constitutional checks and balances on the current Congress and President,

both of which have been unlawfully elected in violation of HAVA.

         2.        “Gondor has no King,” to invoke a very appropriate quote from the J.R.R.

Tolkien epic classic, “Lord of the Rings.” 2 The Judicial Branch is currently the only

remaining legitimate branch of government and therefore has a duty uphold the checks

and balances in the Constitution to curb the unlawful power grab perpetrated on the

electorate by Defendants. The Court must immediately act to check the power of the

Legislative and Executive branches by placing them into a state of stewardship to

preserve the status quo ante, pending a preliminary injunction and then until a trial on

the merits. Plaintiffs hereby request that the Honorable Court enter the Temporary

Restraining Order attached hereto enjoining the illegitimate 117th Congress and 46th




1All capitalized terms not defined herein have the meaning ascribed to them in the Original Complaint.
2 During the course of the epic trilogy, the rightful King of Gondor had abandoned the throne. Since only the rightful king could sit
on the throne of Gondor, a steward was appointed to manage Gondor until the return of the King, known as “Aragorn,” occurred at
the end of the story. This analogy is applicable since there is now in Washington, D.C., a group of individuals calling themselves the
President, Vice President, and Congress who have no rightful claim to govern the American People. Accordingly, as set forth in the
Proposed Temporary Restraining Order, as a remedy the Court should appoint a group of special masters (the “Stewards”) to provide
a check the power of the illegitimate President until this Constitutional Crisis can be resolved through a peaceful legal process of a
Preliminary Injunction Hearing and a jury trial on the merits.


                                                                  2
          Case 6:21-cv-00043-ADA-JCM Document 6 Filed 01/21/21 Page 3 of 12



President (collectively, the “Usurpers”)3 from enacting any new legislation or making

any substantial departures from United States policy, foreign and domestic, as it existed

prior to their unlawful usurpation of power on January 3, 2021 and January 20, 2021,

respectively by appointing a group of trusted special masters to provide oversight to the

Usurpers.4 This concept is similar to the concept of placing a corrupted business in

receivership or in bankruptcy law, which places a “trustee” in charge of the “debtor-in-

possession” during the bankruptcy case to rehabilitate the corrupted organization.

         3.       The Declaration of Independence states, “The history of the present King

of Great Britain is a history of repeated injuries and usurpations, all having in direct

object the establishment of an absolute Tyranny over these States.” Rather ironically,

one could now easily insert “United States federal government” in place of “King of Great

Britain,” which has ceased being accountable to its voting citizens. It is now up to the

federal judiciary as the last constitutional safeguard against such tyranny to prevent

the immediate and irreparable harm of the Usurpers from enacting laws and policy

without the legal consent of the People.

         4.       This Complaint assumes that the courage of the Court does in fact match

that of Plaintiffs’ and their undersigned Counsels’ act in filing this Motion to take a

stand against tyranny. If the Court does not act to intervene, Plaintiffs and Counsel

have essentially signed their own death warrants by filing this lawsuit exposing the

shocking unlawful acts of the Defendants, the powerful elite figures who acted, funded,

directed, and/or otherwise conspired in furtherance of their malevolent scheme to crush


3 Usurper, Miriam-Webster Dictionary, https://www.merriam-webster.com/dictionary/usurper (“one who seizes and holds office,
power, position, etc., by force or without righ
4 Supra note 2.




                                                             3
           Case 6:21-cv-00043-ADA-JCM Document 6 Filed 01/21/21 Page 4 of 12



the freedom and individual rights of the People by replacing our republican form of

government with a group of Usurpers.

    B. The “Political Question Doctrine” Does Not Apply

          5.        For the purposes of complying with the Local Rules of the Court for length,

this section of the same title and the subsequent section entitled “There are No Issues

of Standing, Laches, or Ripeness,” set forth in the original Emergency Motion for

Temporary Restraining Order (Doc. 2) are fully incorporated herein by reference.

          6.        Plaintiffs will certainly suffer immediate and irreparable harm if

the Court does not immediately enter the temporary injunctive relief requested herein

(the “TRO”).5             If the Defendants and the illegitimate Congress and President their

actions installed are able to continue to govern the United States, it will cease to be a

republic. It may become a true RINO “republic in name only” in the sense that the

“People’s Republic of China” contains the word “Republic,” although it is common public

knowledge that China does not in any way belong to its people.                                                 It belongs to a

tyrannical, authoritarian, communist police state that engages in atrocities against

humanity, including the active persecution of proponents of free speech, democracy,

Christians, and anyone else who poses a view that does not demonstrate absolute and

unquestioning loyalty to the state and whatever ideologies it chooses to cram down the

throats of its citizens.

          7.        The risk of the United State government descending into such an

oppressive police state is tangible and imminent given the rampant cancel culture that


5Fed. R. Civ. P. 65(b)(1); Fairchild Semiconductor Corp. v. Third Dimension (3D) Semiconductor, Inc., 564 F. Supp. 2d 63, 66–68 (D.
Me. 2008); Nw. Airlines, Inc. v. Bauer, 467 F. Supp. 2d 957, 963–64 (D.N.D. 2006); see Winter v. Nat. Res. Def. Council, Inc., 555 U.S.
7, 22 (2008).


                                                                   4
             Case 6:21-cv-00043-ADA-JCM Document 6 Filed 01/21/21 Page 5 of 12



has emerged to terminate and intimidate anyone who supported the previous

administration combined with the powers granted to government agencies to spy on

U.S. Citizens is a perfect storm for such a scenario. Internet searches regarding cancel

culture will bring up headlines describing tangible fear from those on the political right

of being eventually rounded up into Soviet-style gulags or “reeducation camps.”

             8.        Furthermore, as set forth in the expert report of J.S. Vanderbol III entitled

“Global Risk Analysis: Special Report,”6 the Constitutional Crisis created by the acts

and omissions of Defendants set forth herein compel the conclusion that, if the Court

does not grant the TRO to prevent the illegitimate Congress and President-Elect from

taking control of the U.S. Government, the economy of the United States will become

inherently unstable and cease to be a “safe haven” for financial investors due to the

failure of the rule of law. Such a scenario will have a devastating effect on Plaintiffs’

ability to plan for retirement and reach other financial goals.

             9.          Mr. Vanderbol has 27 years of experience operating multi-national, multi-

spectrum corporations with assets exceeding many billions of dollars, and is,

accordingly, an expert on how geopolitical events affect the financial markets.7 In

addition, and as result of these corporate geopolitical operations involving the

interaction of finance and technology with governmental regulations, Mr. Vanderbol has

developed a unique skill set of analyzing complex interactions of law often in conflict

due to statutory, regulatory and jurisprudential issues with a direct impact on his

business dealings.



6   Exhibit A, “Global Risk Analysis: Special Report,” by J.S. Vanderbol, III.
7   Exhibit B, CV of J. S. Vanderbol, III.


                                                                        5
          Case 6:21-cv-00043-ADA-JCM Document 6 Filed 01/21/21 Page 6 of 12



          10.       Thus, there is no adequate remedy at law8 because it would be

impossible to calculate an appropriate amount of monetary damages that would

compensate Plaintiffs for such harm.9 It is also obvious that the risk of permanent

deprivation of the right to cast a legal vote in federal elections or trust in the integrity

of elections could be lost forever if the Temporary Restraining Order is not entered.

          11.       There is a substantial likelihood that Plaintiffs will prevail on the

merits of their claims. Although the legal syllogism for Plaintiffs’ right to relief is

very simple, the HAVA statutory scheme that provides the backdrop for which

Defendants’ violation of Plaintiffs’ civil rights occurred is so arcane and complex that

one has to wonder the wether convoluted nature of HAVA, a law with the express

purpose of restoring American confidence in election integrity, was not in some way

intentional to give room for its violation. Fortunately, Counsel, in partnership with Mr.

Vanderbol’s unique skill set have broken down HAVA for the purposes of this Motion

and the injuries suffered by the two Declarants who testify in support of this Motion.

The harm giving rise to Plaintiffs’ right to relief is clear:

                  i. Plaintiffs cast ballots in the 2020 Federal Election;

                ii. The States of Alabama and Virginia, (along with the other 48 states), had
                    either preexisting 2020 Federal Election procedures in violation of the
                    minimum standards of HAVA10 or changed their procedures in violation,
                    using the COVID-19 pandemic as an excuse;

                iii. The violations of HAVA resulted in the ballots cast in the 2020 Federal
                     election being illegal;11

8Prudential Ins. Co. of Am. v. Inlay, 728 F. Supp. 2d 1022, 1030–31 (N.D. Iowa 2010); see Ruggieri v. M.I.W. Corp., 826 F. Supp. 2d
334, 336 (D. Mass. 2011).

10
  Exhibit C is a full version of HAVA with highlighted portions for the Court’s convenience.
11
  Article I, Section IV gives Congress the power to exercise authority to alter the State legislature’s regulations on the
election of Representatives. As to the Senate, it is long-established that when States receive federal funds in exchange

                                                                  6
           Case 6:21-cv-00043-ADA-JCM Document 6 Filed 01/21/21 Page 7 of 12




                iv. The 117th U.S. Congress was seated and took their oaths of office to
                    defend and protect the Constitution by virtue of the election that took
                    place in violation of HAVA;

                 v. Plaintiffs’ were therefore deprived of their substantive due process right
                    to cast a legal vote in the election of their representatives and/or were
                    deprived of equal protection under the law by having their vote diluted
                    by illegal ballots, or at least were left with no way of knowing if their vote
                    had been diluted from lack of preservation of ballots as required by
                    HAVA;

          12.       In support of this Motion, Plaintiffs will demonstrate two cases of injury to

two of the Plaintiffs, as examples of the vast array of similar injuries to other Plaintiffs

and potential Plaintiffs. Mr. Macias voted in the 2020 Federal Election in Virginia.12

The process analysis of comparing HAVA to Virginia’s voting process reveals Virginia

failed to conform to HAVA in at least three respects:

                (1) Virginia’s Failure to verify an absentee voter’s identification in person
                    prior to accepting the marked a ballot as “eligible” when it is the “first time
                    in a federal election” for such person to vote;13

                (2) Virginia’s failure to maintain a separate list as required in HAVA § 303;14


for the promise to abide by a statutory scheme, the state is obligated to follow the statute. Every state at issue here
received such federal funds and HAVA § 101 specifies that the state must use the funds to implement compliance with
HAVA.

12Exhibit D, Macia Declaration (also explaining the previous miscommunication between Macias and Counsel where it was
misunderstood that Mr. Macias voted in North Carolina rather than Virginia).

13See Exhibit E, Virginia Voter Registration Application (failing to ask question of whether voter is a first-time voter; Virginia has no
other process in place to collect and verify such information). HAVA § 303(b)p laces the duty upon the state to assure that first time
voter’s in a federal election have identification confirmed in very specifical procedural criteria which requires a “copy of the ID to be
submitted with the ballot” or “ID verified prior to” voting. See § 303(b).

14The requirement is found in HAVA § 301(2) for a “voting system” that produces “a record with an audit capacity” which would,
under § 304’s “minimum requirements” standards, include a method to track who has and has not previously voted in a federal
election. Moreover, § 303(b)(1)(B)(i) and (ii) requires a list to determine who has or has not previously voted in a federal election.
Procedural analysis of voter registration application, and post-election witness testimony analysis show no process in which “mail in
ballots” were reviewed against a “separate list” of first-time federal election voters. Simply, election observers stated mail in ballots
were “scanned” into Expressvote and tabulated as “valid” registered voters. This shows Virginia, and Alabama’s procedural failures
to comply with Sec. 304, by purposeful acts that violate multiple parts of Section 303. See Exhibit F, Expressvote Screenshot.
When applied against the ‘states’ COVID 19 emergency changes under color of law this creates multiple violations of
HAVA. Generally, the majority of requirements are placed upon the voter when reviewing the language of the ACT. BUT in 2020 by


                                                                   7
           Case 6:21-cv-00043-ADA-JCM Document 6 Filed 01/21/21 Page 8 of 12



                (3) Failure to collect identification with the ballot and maintain such
                    identification paperwork with the ballot in order to mark the ballot as
                    ‘eligible’ and maintain an adequate ‘audit trail’ as required in Sec. 303.15

          13.       The failure to meet the “minimum requirements” standards as shown in

Section 304 of the Help America Vote Act of 2002 are easily shown in a process analysis

despite the convoluted nature of the act itself. Virginia’s law appears deviously crafted

to paint the “illusion” of compliance when in fact it is NOT compliant.16 The facts suggest

Defendants likely worked to appear compliant but in fact knew Virginia was not

compliant when they certified the election.

          14.       The least complicated logical process to determine the ‘attempt’ to meet

compliance is shown in a comparison between HAVA’s Sections 253/254 and Section

304.. Specifically, Sec. 254(a) states “ (a) IN GENERAL.—The State plan shall contain a

description of each of the following: (1) How the State will use the requirements payment to

meet the requirements of title III, and, if applicable under section 251(a)(2), to carry out other




unlawful emergency procedural changes the states, including Virginia, North Carolina, and Alabama took actions of the ‘state’ which
shifted many of these requirements of the voter to the state due to the decrees of changes. These ‘manners’ as stated in (b)(1) were
not uniform or nondiscriminatory in nature. However, directly under (B)(i) the ‘state’ had a requirement to affirm, list, and evaluate
IF a person had previously voted in an election for Federal office in the State; or (ii) to determine if a individual who had not previously
voted in a Federal Election in another state without list in compliance with subsection (a). Due to the use of absentee ballots and
the states making ballots available to all persons on the voter rolls, or mailed out ballots to ALL voters on the state’s voter rolls, no
effort was made to evaluate, test, reject, or affirm a voter for ‘the first time in a federal election’ criteria. This violates Section 304,
and also likely violates Section 902 pertaining to records for audit, and making such available for audit to affirm the state’s plan’s
certification / compliance attestation which is the evaluator for acts of intentional fraud.
15 Reviewing Virginia’s “§ 24.2 – 707 shows the ‘marked and returned by mail’ processes for absentee ballots which Virginia freely
releases to all voters on the rolls. Nothing in 707 shows requirements to place identification within the ballot envelope as required
in HAVA’s section 303 for first time voters in a federal election. Virginia’s liberal use of absentee ballots / mail in ballots without
statutory compliance with HAVA represents a liberty interest issue for ballot box stuffing, among other records retention issues tied
to the Civil Rights Act of 1960, Sec. 301.
16
   Additionally, where an individual shows up at the polls to vote in person and whose name is not on the list of individuals eligible
to vote, such person may request a provisional ballot signing a written affirmation that the person is (1) registered to vote in the
appropriate jurisdiction and (2) eligible to vote in that election. 52 U.S.C. § 21082. By contrast, Virginia changed its provisional ballot
requirements for the 2020 federal election to allow anyone who shows up at a poll and requests a provisional ballot without
consideration of the first-time federal voting requirements in HAVA, or obtaining information stated within the statute. See VA Code
24-2-653 (“Provisional Voting”).




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           Case 6:21-cv-00043-ADA-JCM Document 6 Filed 01/21/21 Page 9 of 12



activities to improve the administration of elections” And then by reviewing the state’s plan

to the minimum standards of Section 304 reveals all of the cracks in the façade of

compliance, from which the acts to defraud are easily recognized as purposeful rather

than neglectful. ” See Virginia’s Voter application form for example of this deception by

illusion attached hereto as evidence.

          15.       J.J. voted in person in the 2020 Federal Election for House and Senate in

Alabama. Exhibit G. The State of Alabama enacted “Alabama Amendment 1,” which

changed the Constitution from “every citizen” to “only a citizen” tying US citizenship to

the right to obtain a ballot and vote. The referendum passed. However, this rule did

not take effect until AFTER the 2020 Federal election using and by using Mr.

Vanderbol’s “least complicated” logic test, a review of Alabama’s registration form for

‘first time in a federal election’ requirement as stated in Section 303. The failure on

Alabama’s voter registration form to contain this requirement for ‘first time federal

voter’ status shows the ‘states’ first failure to obtain data as a minimum requirement as

stated in Section 303/304 analysis. Next we review, Alabama’s changes to procedures

due to the COVID 19 pandemic which reveals a change in procedure in press releases

and “Ballotpedia” which states “Alabama modified its absentee/mail-in voting and

candidate filing procedures for the November 3, 2020, general election as follows:

“Absentee/mail-in voting: Any qualified voter could cast an absentee ballot in the

general election.”17             This shows the ease in which a party18 could become a “qualified


17Exhibit H, Ballotpedia Printout.
18 Alabama State law by construction circumvents most of the registration requirements as specified in HAVA. Alabama Section 17-
3-30 (Qualification of electors generally) states ‘any person possessing the qualification of an elector as set out in Article 8 of the
Constitution of Alabama 0f 1901, as modified by federal law, and not laboring under any disqualification list therein, shall be an
elector, and shell be entitled to register and to vote in any election by the people’. Alabama Const. Art. 8 broadly restates this ‘right
to vote’ adding ‘if registered as provided by law’ in direct text. A complete review of Alabama Chapter 46 – Elections shows NO LAW


                                                                   9
          Case 6:21-cv-00043-ADA-JCM Document 6 Filed 01/21/21 Page 10 of 12



voter” by an act of fraud, then by simple refusal to comply with the “states minimum

requirement” duty to act to collect data in person could obtain and cast a ballot without

identification verified by the state as required in Section 303 of HAVA. Thus, Plaintiffs

have shown a probable right to relief by the states’ HAVA violations, which deprived

them of their civil rights to legally cast a vote in a federal election and without such vote

being diluted by illegal ballots.

          16.       The threatened harm to Plaintiffs outweighs the harm that a

temporary restraining order would inflict on Defendants. It is clear that the loss

of the right to government by consent of the governed is far worse than any harm

Defendants may suffer if the Court grants the TRO.

          17.       Issuance of a temporary restraining order would not adversely

affect the public interest and public policy. It is clear that preventing the loss of

the right to government by consent of the governed is in the public interest.

          18.       The Court should enter this temporary restraining order without

notice to defendant because Plaintiffs will likely suffer immediate and irreparable

injury, loss, or damage if the order is not granted before Defendants can be heard

because (1) the vast list of Defendants in disparate geographical locations makes service

of process on short notice impracticable; (2) given that the allegations and evidence

revealed in this Complaint could result in federal criminal prosecutions for various and

severe high crimes and misdemeanors, including but not limited to sedition, treason,



stating any element of requirement for affirming federal first-time voter criteria. Further a complete review of Alabama Title 17,
including Chapter 2 – Help America Vote Act section 17-2-4 which shows Alabama’s failure to seek any information regarding ‘first
time federal voters’ or any attempt to obtain a list to which a ‘first time federal voter’ could be determined or evaluated. A complete
review of Alabama law shows multiple procedural flaws, and multiple inlets for fraud in a manner in which no ‘audit’ or evidence of
fraud could reasonably be obtained from which a criminal inquiry for election fraud could be obtained.


                                                                 10
      Case 6:21-cv-00043-ADA-JCM Document 6 Filed 01/21/21 Page 11 of 12



racketeering, malfeasance by public officials, wire fraud, mail fraud, etc., there is a high

risk that Defendants will destroy evidence prior to being given notice of the TRO; and

(3) there is no less drastic remedy to protect Plaintiffs’ constitutional rights and to

enforce the Constitution of the United States against an unlawfully elected Congress

and President.

      19.    On the foregoing grounds for injunctive relief Plaintiffs hereby enter an

application for preliminary injunction and request that the Court set a hearing.

Plaintiffs will prepare a motion for expedited discovery against Defendants in

anticipation of the Preliminary Injunction hearing. Plaintiffs are willing to post a bond

in the amount the Court deems appropriate.

                                PRAYER FOR RELIEF

      WHERFORE, Plaintiffs pray that the Court enter the attached Temporary

Restraining Order without notice to defendant because plaintiff will likely suffer

immediate and irreparable injury, loss, or damage if the order is not granted before

Defendants can be heard, notice would be impractical or impossible, there is no less

drastic way to protect plaintiff’s interests, and there is a risk of destruction of evidence

given that the allegation have criminal law implications.

Submitted to the Honorable Court this 21th day of January, 2021.

                                         /s/ Paul M. Davis
                                         Paul M. Davis
                                         Texas Bar Number 24078401
                                         Admitted to Western District of Texas
                                         Former Associate General Counsel of
                                         Goosehead Insurance, Inc.
                                         (Terminated after peacefully protesting)
                                         Now Solo Civil Rights Attorney



                                            11
Case 6:21-cv-00043-ADA-JCM Document 6 Filed 01/21/21 Page 12 of 12



                                 Kellye SoRelle
                                 Law Office of Kellye SoRelle
                                 Texas Bar Number 24053486
                                 Admitted Pro Hace Vice

                                 ATTORNEYS FOR PLAINTIFFS


  [certificates of service and conference not required for ex parte relief]




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